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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In re:                                                               Chapter 11 (Subchapter V)

        PARS BRONX REALTY LLC,                                       Case No.: 22-40714-ess

                                             Debtor.
---------------------------------------------------------x

        ORDER UNDER SECTIONS 105, 363(a), 363(b), 363(f) and 363(m) OF THE
           BANKRUPTCY CODE AND RULES 2002, 6004 AND 9004 OF THE
               FEDERAL RULES OF BANKRUPTCY PROCEDURE: (I)
        AUTHORIZING THE TRUSTEE TO SELL TO THE STALKING HORSE
        BIDDER OR TO THE HIGHEST AND BEST BIDDER AT AN AUCTION
            SALE THE ESTATE’S INTEREST IN THE REAL PROPERTIES
         KNOWN AS 694 COURTLANDT AVENUE, BRONX, NEW YORK 10451
          AND 696 COURTLANDT AVENUE, BRONX, NEW YORK 10451; (II)
           SCHEDULING A HEARING TO APPROVE SUCH SALE TO THE
         HIGHEST AND BEST BIDDER; (III) APPROVING CERTAIN BIDDING
         PROCEDURES; AND (IV) APPROVING THE MANNER AND EXTENT
                   OF NOTICE OF SUCH AUCTION HEARING

        UPON the motion (the “Motion”) of Charles N. Persing, CPA, the Subchapter V trustee

(the “Trustee”) of the Estate of Pars Bronx Realty LLC seeking the entry of an order under sections

363(a), (b), (f) and (m) of Title 11 of the United States Code (the “Bankruptcy Code”) and Rules

2002, 6004 and 9004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rule”): (i)

authorizing the Trustee’s sale of the real properties commonly known as 694 Courtlandt Avenue,

Bronx, New York 10451, in the Borough of Bronx, Block: 2401, Lot 1 and 696 Courtlandt Avenue,

Bronx, New York 10451, in the Borough of Bronx, Block: 2401, Lot 2 (collectively, the

“Properties”) to the stalking horse bidder, Magnet Mgmt Development LLC (the “Stalking Horse

Bidder”), or to the highest and or best offer received at an auction, free and clear of all liens, claims,

encumbrances and other interests (collectively, the “Liens”) with such Liens to attach to the

proceeds of the sale for good and valuable consideration, substantially in accordance with the terms

and conditions set forth herein to the bidder with the highest and or best offer to be considered and
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approved by the Court at said hearing; (ii) approving the sale of the Properties to the Stalking

Horse Bidder or other successful bidder; (iii) approving the terms and conditions for submitting

offers and bidding procedures; (iv) approving the form and manner of notice with respect to the

auction hearing; and (v) granting such other and further relief as this Court deems just and proper

under the circumstances; and the Motion having come on for a hearing before the Court on July

30, 2023; and there being no opposition to the relief sought or said opposition having been

withdrawn or otherwise overruled; and the Trustee having appeared before the Court at the hearing;

and Ryan Gentile, Esq. having appeared as counsel to the Debtor; and Charles N. Persing, CPA

having appeared in his capacity as the Subchapter V Trustee; and Alex E. Tsionis, Esq., having

appeared as counsel to the Trustee; and Marc P. Yaverbaum having appeared as real estate broker

to the Trustee; and Nickolas Karavolas, Esq. having appeared as counsel to NYCTL 2021-A Trust;

and Nazar Khodorovsky, Esq. having appeared on behalf of the Office of the United States Trustee;

and the Court, having considered the Motion and having determined that the Motion should be

granted; it is hereby

       ORDERED, that the Trustee is authorized to sell the estate’s interest in the Properties free

and clear of all Liens with such Liens to attach to the proceeds of sale with the same validity and

with the same priority that existed prior to the sale, pursuant to sections 363(a), (b), (f) and (m) of

the Bankruptcy Code at public auction; and it is further

       ORDERED, that the Trustee is hereby authorized to enter into the contracts of sale with

the Stalking Horse Bidder, which are annexed to the Motion; and it is further

       ORDERED, that the Trustee is hereby authorized and empowered to take those steps

necessary to sell the Properties as described herein, to the highest and/or best bidder free and clear
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of all Liens with such Liens to attach to the proceeds of sale with the same validity and in the same

priority that existed prior to the sale; and it is further

        ORDERED, that the Trustee shall cause the auction to be advertised on: (i) the website of

MYC; and (ii) a publication as chosen by the Trustee in consultation with MYC & Associates, Inc.

(“MYC”); and it is further

        ORDERED, that the following bidding procedures (the “Bidding Procedures”) as set forth

in the Motion are hereby approved:

    A. These terms and conditions of sale (“Terms and Conditions of Sale”) are being
       promulgated in connection with the United States Bankruptcy Court, Eastern
       District of New York (“Bankruptcy Court”) authorized auction sale (“Sale”) of the
       Debtor’s real properties commonly known as 694 Courtlandt Avenue, Bronx, New
       York 10451, in the Borough of Bronx, Block: 2401, Lot 1 and 696 Courtlandt
       Avenue, Bronx, New York 10451, in the Borough of Bronx, Block: 2401, Lot 2
       (collectively, the “Properties”). The seller of the Properties is Charles N. Persing,
       CPA, Subchapter V Trustee (“Trustee” and/or “Seller”) of the estate of Pars Bronx
       Realty LLC (“Debtor”). The Debtor is a debtor in a Subchapter V Chapter 11 case
       currently pending in the Bankruptcy Court under the caption and case number set
       forth above. The Trustee’s retained real estate broker and auctioneer (“Auctioneer”)
       is MYC & Associates, Inc. (“MYC”), 1110 South Avenue, Suite 22, Staten Island,
       New York 10314; Telephone (347) 273-1258; Facsimile (347) 273-1358; email:
       sales@myccorp.com; and website: www.myccorp.com.

    B. The auction sale (“Sale”) will take place at a date and time to be determined by the
       Trustee in consultation with MYC. Under no circumstance shall the Sale take place
       earlier than sixty (60) days from the date of entry of the Order authorizing the
       Trustee to conduct the Sale. MYC may not be paid commissions for its services in
       this matter without filing a fee application with the Bankruptcy Court upon
       appropriate notice and a hearing.

    C. Information regarding the Trustee’s sale of the Properties can be obtained by
       contacting the Trustee’s counsel at the telephone number and address set forth
       herein or by contacting MYC or on the MYC website set forth in paragraph “A”
       above.

    D. The Trustee, in his sole discretion and under his business judgment, has entered
       into two (2) stalking horse contracts with a potential buyer (“Stalking Horse
       Bidder”) in the aggregate amount of $1,950,000.00 ($1,000,000.00 for 694
       Courtlandt and $950,000.00 for 696 Courtlandt) that the Trustee deems to be a
       reasonable and valid purchase offer (the “Stalking Horse Offer”). The Trustee shall
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   use the Stalking Horse Offer as the reserve sale price at the Sale, such that the Sale
   will not tender less than the Stalking Horse Offer at the Sale. The Properties are
   being sold as a package.

E. In order to be considered by the Court and admissible on the date of the Sale
   Hearing, any competing offer (“Competing Offer”) must satisfy the following
   terms and conditions: (i) a Competing Offer shall provide for a Purchase Price of
   at least $25,000.00 more than the Purchase Price as provided for in this Agreement;
   (ii) the Competing Offer shall be substantially similar to the terms and conditions
   of this Agreement; (iii) a higher or better Competing Offeror must sign these Terms
   and Conditions of Sale agreeing to be bound by the terms and conditions of this
   Agreement; (iv) the Competing Offer shall have demonstrated, to the sole
   satisfaction of the Trustee and his counsel, evidence of its ability to conclude the
   transaction upon the terms and conditions of this Agreement, without delay; (v) the
   Competing Offer shall not be conditioned upon the outcome of unperformed due
   diligence by the Competing Offeror with respect to the Assets that are the subject
   of this Agreement; (vi) the Competing Offeror shall provide, at least two (2) days
   before the Sale Hearing, a certified check made payable to Charles N. Persing,
   CPA, as Trustee, the sum of ten percent (10%) of the proposed purchase price as a
   down payment; and (vii) in the case of any subsequent competing offer
   (“Subsequent Competing Offer”) received from any party, which may, include,
   without limitation, the Buyer (after a prior competing bid has been received) which
   satisfies the conditions set forth above, such Competing Offer shall provide for an
   aggregate consideration at least $25,000.00 more than the Stalking Horse Bid, but
   within the discretion of MYC at the Sale to set a lower Subsequent Competing
   Offer, in excess of that provided by the prior better offer and shall otherwise comply
   with all conditions of the Agreement.

F. In order to be permitted to bid on the Properties, at least two (2) days prior to the
   commencement of the Sale, and as a condition to be able to bid at the Sale, each
   prospective bidder must: (i) register with MYC; (ii) deliver to MYC the original
   signed Terms and Conditions of Sale; and (iii) tender a bank check in the amount
   of $100,000.00 (“Qualifying Deposit”) made payable to “Charles N. Persing, CPA,
   as Trustee”, which amount shall serve as a good faith deposit against payment of
   the purchase price by such bidder in the event that such bidder is determined to
   have made the highest and/or best bid (“Successful Bidder”).

G. Within forty-eight (48) hours after conclusion of the Sale, the Successful Bidder of
   the Properties shall deliver to the Trustee a bank check which amount must be equal
   to ten (10%) percent of the successful bid, minus the Qualifying Deposit (together
   with the Qualifying Deposit, the “Deposit”). The Successful Bidder for the
   Properties must execute, and thereby agree to be bound by: (i) these Terms and
   Conditions of Sale; and (ii) a Memorandum of Sale. At the conclusion of the Sale,
   the Trustee, or his representative, will return the Qualifying Deposits to all other
   bidders. The Trustee, however, shall retain the Qualifying Deposit of the second
   highest bidder (“Second Bidder”) on the terms set forth herein.
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H. The Successful Bidder, or its assigns, must close title (“Closing”) to the Properties
   on a date (“Closing Date”), provided title is clear to close, that is within thirty (30)
   days following the date of entry of a Bankruptcy Court Order approving the Sale,
   time being of the essence. The Closing Date may be extended solely by the
   Trustee, in his discretion. The Closing shall take place at a location that is to be
   determined by the Trustee.

I. The Bankruptcy Court, prior to the Closing, may enter an Order confirming the
   Sale.
J. The Successful Bidder, or its assigns, shall be responsible solely and shall pay any
   and all New York City, New York State, or other applicable real property transfer
   taxes incurred by the transfer of the Properties by the Debtor’s estate at the Closing.
   The Successful Bidder, or its assigns, acknowledges that he, she, or it, will be
   responsible for the completion of any ACRIS forms, if required.

K. In connection with the Closing and Closing Date, the Successful Bidder, or its
   assigns, is hereby given notice that Time is of the Essence against the Successful
   Bidder, or its assigns, and the failure of the Successful Bidder, or its assigns,
   to close for any reason whatsoever (except as otherwise provided below)
   including his, her, or its, failure to pay the balance of the Purchase Price on
   the Closing Date, will result in the Seller retaining the Deposit as liquidating
   damages and the termination of the Successful Bidder, or its assigns, right to
   acquire the Properties under these Terms and Conditions of Sale. The
   Successful Bidder, or its assigns, shall be obligated to close title to the Properties
   and there is no contingency of any kind or nature that will permit the Successful
   Bidder, or its assigns, to cancel or avoid his, her, or its, obligation under these Terms
   and Conditions of Sale other than the Trustee’s inability to deliver insurable title to
   the Properties. Further, the Successful Bidder, or its assigns, must demonstrate, to
   the satisfaction of the Trustee or the Bankruptcy Court, as the case may be, evidence
   of his, her, or its, ability to conclude the transaction upon these Terms and
   Conditions of Sale, without delay. The Trustee reserves the right to reject any
   bidder/offeror, who the Trustee, in his sole discretion, believes is not financially
   capable of consummating the purchase of the Properties. Expenses incurred by
   the Successful Bidder, or its assigns, or any competing bidder concerning the
   performance of any due diligence, such as obtaining title reports or
   environmental inspections, shall be the sole financial responsibility of such
   bidder and under no circumstances shall the Trustee, or the Debtor’s estate,
   or the Trustee’s professionals, be liable or responsible for, or pay, such
   expenses.

L. In the event that the Successful Bidder for the Properties, or its assigns, fails to
   tender the balance of the Purchase Price on the Closing Date, or otherwise perform
   his, her, or its, obligations under these Terms and Conditions of Sale, the Trustee,
   at his sole option, shall immediately negotiate the Qualifying Deposit of the Second
   Bidder and shall be further authorized to sell the Properties to the Second Bidder,
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   or its assigns, without any further notice or approval of the Bankruptcy Court,
   without giving credit to the Second Bidder for the Deposit forfeited by the
   Successful Bidder, and upon such other terms and conditions as the Trustee deems
   appropriate. Should the Second Bidder, or its assigns, fail to close on the Properties
   within twenty (20) days of receiving from the Trustee, notice, TIME BEING OF
   THE ESSENCE, (at the address set forth on the bidder registration form) that said
   Second Bidder is now deemed the Successful Bidder, then the Sellers shall be: (a)
   authorized to keep the Qualifying Deposit of the Second Bidder as liquidated
   damages; and (b) authorized but not obligated to sell the Properties to the next
   highest bidder, without any further notice or approval of the Court.
M. The Properties are being sold and delivered free and clear of all liens, claims and
   encumbrances of whatever kind or nature. To the extent the sale of the Properties
   includes items of personal property, the transfer shall be “as is” and without
   warranty, express, statutory, or implied, as to discretion, title, condition, location,
   quality, fitness or any particular use or purpose or otherwise.

N. The Properties are being sold and delivered “AS IS”, “WHERE IS”, “WITH
   ALL FAULTS”, without any representations, covenants, guarantees or warranties
   of any kind or nature whatsoever, and free and clear of all monetary liens, claims
   and encumbrances of whatever kind or nature, such liens, claims, interests and
   encumbrances, if any, to attach to the proceeds of Sale in such order and priority as
   they existed immediately prior to the Sale Date, and subject to, among other things:
   (a) any state of facts that an accurate survey may show; (b) any covenants,
   restrictions and easements of record; (c) any state of facts a physical inspection may
   show; (d) any building or zoning ordinances or other applicable municipal
   regulations and violations thereof; (e) environmental conditions; and (f) subject to
   all deed restrictions. By delivering their respective Qualifying Deposits, all bidders
   acknowledge that they have had the opportunity to review and inspect the
   Properties, the state of title thereof and laws, rules and regulations applicable
   thereto, and the form of the Trustee’s Deed that the Trustee will execute to convey
   the Properties, and will rely solely thereon and on their own independent
   investigations and inspections of the Properties in making their bids. All bidders
   acknowledge that they have conducted their own due diligence in connection with
   the Properties, and are not relying on any information provided by the Trustee,
   MYC or the Trustee’s retained professionals.

O. The Properties shall be delivered subject to any and all existing tenancies and
   occupancies.

P. The Trustee, MYC and the Trustee’s retained professionals have not made and do
   not make any representations or warrantees with respect to the permissible uses of
   the Properties, the physical condition, rents, leases, expenses, operations, value of
   the land or buildings thereon, number of building lots, use or any other matter or
   thing affecting or related to the Properties or the Sale, that might be pertinent to the
   purchase of the Properties, including, without limitation: (a) the current or future
   real estate tax liability, assessment or valuation of the Properties; (b) the potential
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   qualification of the Properties for any and all benefits conferred by or available
   under federal, state or municipal laws, whether for subsidies, special real estate tax
   treatment, insurance, mortgages, or any other benefits, whether similar or dissimilar
   to those enumerated; (c) the compliance or non-compliance of the Properties, in its
   current or any future state, with applicable current or future zoning ordinances or
   other land use law or regulation, or the ability of the owner of the Properties to
   obtain a change in the zoning or use, or a variance in respect to the Properties; (d)
   the availability of any financing for the purchase, alteration, rehabilitation or
   operation of the Properties from any source, including, but not limited to, any state,
   city, local government or federal government or institutional lender; (e) the current
   or future use of the Properties; (f) the present and future condition and operating
   state of any and all machinery or equipment in the Properties and the present or
   future structural and physical condition of any building thereon or its suitability for
   rehabilitation or renovation; (g) the ownership or state of title of any personal
   property in the Properties; (h) the presence or absence of any laws, ordinances, rules
   or regulations issued by any governmental authority, agency or board and any
   violations thereof; (i) any present or future issues concerning subdivision or non-
   subdivision of the Properties; or (j) the compliance or non-compliance of the
   Properties with environmental laws and the presence or absence of underground
   fuel storage tanks, any asbestos or other hazardous materials anywhere in the
   Properties. Each bidder hereby expressly agrees and acknowledges that no such
   representations have been made, except for the representation as to open permits.
   The Trustee and his retained professionals shall not be liable or bound in any
   manner by expressed or implied warranties, guaranties, promises, statements,
   representations or information pertaining to the Properties, made or furnished by
   the Trustee or any real estate broker, agent, employee, servant or other person or
   professional representing or purporting to represent the Trustee unless such
   warranties, guaranties, promises, statements, representations or information are
   expressly and specifically set forth in a signed writing by the Trustee.

Q. The Trustee shall convey the Properties by delivery of a Trustee’s quitclaim deed.
   The quality of title shall be that which a reputable title insurance company doing
   business in the State of New York is willing to approve and insure. At the Trustee’s
   option, he may arrange for the issuance of a title insurance policy by a reputable
   title company, if the Successful Bidder is unable to do so, at the sole cost and
   expense of the Successful Bidder. The Trustee shall provide all documents required
   by the Successful Bidder’s title company for them to ‘omit’ any exceptions from
   the Successful Bidder’s title policy.

R. Nothing contained in these Terms and Conditions of Sale shall supersede or alter
   any provisions of Title 11, United States Code (“Bankruptcy Code”) and/or of the
   Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) or otherwise
   interfere with the jurisdiction of the Bankruptcy Court. To the extent of any conflict
   between the Bankruptcy Code and/or the Bankruptcy Rules and these Terms and
   Conditions of Sale, the Bankruptcy Code and/or the Bankruptcy Rules shall govern.
   All of the terms and conditions set forth in these Terms and Conditions of Sale are
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       subject to modification as may be directed by the Trustee, or by the Bankruptcy
       Court. The Trustee reserves the right to modify these Terms and Conditions of Sale
       at the Sale, or thereafter, to maintain consistency with the provisions of the
       Bankruptcy Code, Bankruptcy Rules, and/or orders of the Bankruptcy Court. Any
       pre-auction change to the Terms and Conditions of Sale will be filed on the
       electronic case docket in this case.

   S. Neither the Trustee, MYC, the Trustee’s retained professionals, nor the Debtor’s
      estate, are liable or responsible for the payment of fees of any broker or agent that
      has not been retained by an order of the Bankruptcy Court.
   T. These Terms and Conditions of Sale will be read into the record, or specifically
      incorporated by reference at the Sale of the Properties. By making a bid for the
      Properties, all bidders shall be deemed to have acknowledged having read, and
      understand, these Terms and Conditions of Sale and have agreed to be bound by
      them.

   U. The Trustee shall be a party to the Sale of the Properties exclusively in his capacity
      as trustee in bankruptcy and not as an individual. If the Trustee is unable to deliver
      title to the Properties in accordance with these Terms and Conditions of Sale for
      any reason whatsoever, his only obligation will be to refund the Deposit to the
      Successful Bidder (or Second Bidder) and upon such refund the Successful Bidder
      (or Second Bidder) will have no recourse or claim against the Trustee, the Trustee’s
      retained professionals, or the Debtor’s estate.

   V. The Trustee reserves his right to withdraw the Properties from the Sale, either prior
      or subsequent to the auction, for any reason whatsoever, as he deems necessary or
      appropriate. Notice of any pre-auction withdrawal of the Properties from the Sale
      will be filed on the electronic case docket in this case.

   W. The Sale of the Properties is subject to confirmation by the Bankruptcy Court. The
      Trustee or the Trustee’s attorney shall notify the Successful Bidder whether the
      Sale is confirmed. Any disputes concerning the Sale shall be determined by the
      Bankruptcy Court. By participating in the Sale, all bidders consent to the
      jurisdiction of the Bankruptcy Court to determine such disputes arising in the
      Debtor’s pending case. The Purchaser agrees to cooperate with the Trustee in
      obtaining Section 363(m) protections in this Order by submitting an appropriate
      affidavit as to the required elements of that statute. If the Purchaser fails to qualify
      for such a finding by the Court, Purchaser shall close without those protections.

   X. By making a bid for the Properties, all bidders shall be deemed to have
      acknowledged having read, and understand, these Terms and Conditions of
      Sale and have agreed to be bound by them.

       AND IT IS FURTHER ORDERED, that in the event that one (1) or more timely,

conforming bid, in addition to the bid from the Stalking Horse Bidder, is submitted that meets the
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bidding requirements set forth in the Motion by 5:00 p.m. (prevailing Eastern Time) on

September 6, 2023, then MYC & Associates, Inc. (“MYC”) shall conduct an auction sale on

September 8, 2023 at 11:00 a.m. (prevailing Eastern Time) by videoconference using the Zoom

platform or other comparable videoconference platform with bidders to be advised by MYC as to

how they may access the videoconference; and it is further

        ORDERED, that the Court will hold a hearing on September 14, 2023 at 10:30 a.m.

before the Honorable Elizabeth S. Stong to determine whether to approve the sale of the Properties

to the successful bidder; and it is further

        ORDERED, that the September 14, 2023 hearing shall not be held in person but shall be

held virtually. Those parties wishing to appear at the hearing shall register using eCourt

Appearances. To register, please provide your name, address, e-mail address, telephone number

on the hearing date, and if appropriate, the party that you represent. Please be sure to register at

least one business day before your hearing. You will receive instructions on how to access the

remote hearing via e-mail two business days before the hearing. On your hearing date, please

connect at least ten minutes before your scheduled hearing time, and keep your audio and video

on mute until your case is called. If you have a CM/ECF account, you may access eCourt

Appearances in the “Utilities” menu after logging into CM/ECF. If you do not have a CM/ECF

account,    you    may      access    eCourt    Appearances       on    the    Court’s    website     at

https://ecf.nyeb.uscourts.gov/cgi-bin/nyebAppearances.pl

        AND IT IS FURTHER ORDERED, that, notwithstanding anything in this Order or the

Motion to the contrary, all Liens shall, to the extent of their validity and in their order of priority,

attach to the net proceeds of the auction sale, and such Liens shall remain on the Properties until

the Closing Date; and it is further
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        ORDERED, that, on the Closing Date, the Trustee shall pay (or direct payment of) all

Liens on the Properties for real property taxes, water and sewer charges and other related charges,

including, without limitation, those Liens held by NYCTL 2021-A Trust MTAG (collectively, the

“Tax Liens”), in full, including, without limitation, all accrued postpetition interest, fees and other

applicable charges, provided, however, that if the Successful Bidder elects to credit bid any portion

of the purchase price, such Successful Bidder shall pay the Tax Liens in full, including, without

limitation, all accrued postpetition interest, fees and other applicable charges, in cash on the

Closing Date; and it is further

        ORDERED, that, within ten (10) business days of the funds clearing the Trustee’s account,

and the Trustee having received a final invoice or bill for same, the Trustee shall pay, or direct

payment of, all closing costs, statutory closing costs, remaining taxes, remaining liens, and any

other costs and fees necessary to close title to the Properties in accordance with the carve-out

stipulation entered on March 24, 2023 [Dkt. No. 97]; and it is further

        ORDERED, that the Clerk of Bronx County, or any other appropriate government office,

is hereby directed to accept from the successful bidder, all documents required to record the

transfer of the Properties; and it is further

        ORDERED, that, as agreed by MYC, the commissions of MYC shall be capped at five

percent (5%) of the gross auction sale price if sold to a third party and three percent (3%) if sold

to Aflux, LLC (the mortgagee herein); and it is further

        ORDERED, that the proceeds of the auction sale are to be held by the Trustee in a

segregated account pending further order of the Court; and it is further
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        ORDERED, that, other than as set forth in this Order, no funds, other than ordinary and

customary closing expenses and costs, are to be disbursed without further order of the Court; and

it is further

        ORDERED, that the Trustee is hereby authorized and empowered to take such actions as

may be necessary and appropriate to implement the terms of this Order; and it is further

        ORDERED, that the Trustee shall serve a copy of this Order by regular mail, or if not

available, by electronic mail, upon all creditors, any party having filed a notice of appearance and

demand for service in this case, parties in interest and any party that has expressed an interest in

the Properties, by not later than five (5) days after the date of entry of this Order, and shall file an

affidavit of service attesting to service of the Order; and it is further

        ORDERED, that the Court may retain jurisdiction to resolve any disputes arising or related

to this Order and to interpret, implement and enforce the provisions of this Order.




 Dated: Brooklyn, New York                                             ____________________________
        July 12, 2023                                                         Elizabeth S. Stong
                                                                        United States Bankruptcy Judge
